              Case 2:12-cr-00169-TLN Document 400 Filed 01/29/15 Page 1 of 3



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 7
 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                             CASE NO. 12-CR-000169 MCE
12                                Plaintiff,               STIPULATION TO MODIFY
                                                           PROTECTIVE ORDER AS TO
13   v.                                                    DEFENDANT LATROY
                                                           CUNNINGHAM, WITHDRAW
14   LATROY CUNNINGHAM,                                    MOTION TO MODIFY, AND
                                                           VACATE HEARING DATE; ORDER
15                                Defendant,
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17
18                                             STIPULATION
19          Plaintiff, United States of America, by and through its counsel of record, and defendant
20
     LATROY CUNNINGHAM, by and through his counsel of record, hereby stipulate as follows:
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            1.      This Court ordered a protective order as to the applications, orders, and periodic
22
     reports related to the interceptions of wire communications to and from specific cell phones. The
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24 application for the order and the order were both filed under seal on April 26, 2012, under case
25 number 2:10-SW-0110 MCE. The application for the order states that the sought after protection
26 included that defense counsel “shall not provide copies of these [protected] items to the defendants.”
27          2.      Defendant Cunningham is set for trial on March 2, 2015. Defendant Cunningham has
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              Case 2:12-cr-00169-TLN Document 400 Filed 01/29/15 Page 2 of 3


     been allowed to view relevant pages of the protected materials as it pertains to his defense.
 1
     Moreover, defense counsel has orally summarized the protected material for defendant and
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 3 defendant has been provided a copy of the lengthy affidavit supporting the complaint which also
 4 provides an approximate 50 page summary of relevant activity which is contained in the protected
 5 materials. However, there are approximately 1,000 pages of protected materials, and as the defense
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     is preparing detailed cross examination, it has become necessary for defendant to be able to read the
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     protected material in his cell to review numerous pages of the protected materials in the privacy of
 8
     his cell to peruse and consider without time pressure.
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10          3.      Therefore the parties agree that, as to defendant Cunningham, the protective order

11 identified above may be modified to allow defense counsel to provide copies of the protected
12 material as long as defendant agrees to not further disseminate the protected materials, signs a copy
13 of the below order acknowledging he has received a copy of the order, and agrees to abide by the
14
     terms of the order.
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            4.      The parties further stipulate that defendant Cunningham’s motion for the modification
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     of the protective order (ECF No. 387) may be deemed withdrawn at defense counsel’s request and
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18 that the hearing set for January 29, 2015, for that motion may be vacated.
19          5.      Time has already been excluded under the speedy trial act until March 2, 2015,

20 pursuant to Local Code T4. (See ECF Minute Order 358)
21
            IT IS SO STIPULATED.
22
23 DATED:           January 27, 2015       /s/ Jason Hitt
                                           JASON HITT
24                                         Assistant United States Attorney

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     DATED:         January 27, 2015       /s/ Scott Cameron
26                                         SCOTT N. CAMERON
                                           Counsel for LATROY CUNNINGHAM
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              Case 2:12-cr-00169-TLN Document 400 Filed 01/29/15 Page 3 of 3



 1
                                                  ORDER
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 3          Pursuant to the parties’ stipulation, the protective order dated April 26, 2012, and filed under
 4 seal in case no. 2:10-SW-0100 MCE, pertaining to applications, orders, and periodic reports related
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     to the interceptions of wire communications to and from specific cell phones, is modified to allow
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     defense counsel for defendant Cunningham to provide defendant Cunningham with copies of the
 7
     protected materials, as long as defendant agrees to not further disseminate the protected materials,
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 9 signs a copy of this order acknowledging he has received a copy of the order, and agrees to abide by
10 the terms of the order.
11          IT IS SO ORDERED.
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     Dated: January 28, 2015
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